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11                           UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 19-00353-MWF

14              Plaintiff,                    GOVERNMENT’S RESTITUTION
                                              MEMORANDUM; EXHIBITS A-G;
15                    v.                      DECLARATION OF STEPHEN LOVEMAN

16   DREW JOSEPH HENRY,                       Hearing Date: May 13, 2023
                                              Location:     Courtroom of the
17                                                          Hon. Michael W.
                Defendant.                                  Fitzgerald
18
19

20
           Plaintiff United States of America, by and through its counsel
21
     of record, the United States Attorney for the Central District of
22
     California and Assistant United States Attorney Daniel H. Weiner,
23
     hereby files its Restitution Memorandum as to defendant Drew Joseph
24
     Henry.
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     //
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1          This memorandum is based upon the attached memorandum of points

2    and authorities, the attached exhibits, the declaration of Stephen

3    Loveman and its attached exhibit, the files and records in this case,

4    and such further evidence and argument as the Court may permit.

5     Dated: April 14, 2024                Respectfully submitted,

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          N.A. died of fentanyl poisoning on October 6, 2018 at the age of

4    25.   On September 13, 2023, defendant Drew Joseph Henry (“defendant”)

5    pleaded guilty to distributing the deadly fentanyl that killed N.A.

6    (Dkt. 103.)    On February 12, 2024, this Court sentenced defendant to

7    156 months’ imprisonment followed by five years’ supervised release.

8          The government now seeks restitution under the Victim and

9    Witness Protection Act (the “VWPA”) for financial losses stemming
10   from defendant’s distribution of fentanyl resulting in victim N.A.’s

11   death.    See 18 U.S.C. § 3663.     The victims of defendant’s actions --

12   his mother (I.A.), his father (D.A.), and his brother (J.A.) -- are

13   identifiable, as all were “directly and proximately harmed as a

14   result of the commission of” defendant’s offense.           18 U.S.C.

15   § 3663(a)(2).     Defendant directly and proximately caused N.A.’s

16   family and estate to incur expenses for:

17         (i) travel related to the investigation and these proceedings

18   for D.A. and I.A. totaling approximately $3,623.08;
19         (ii) N.A.’s funeral and related expenses incurred by D.A. and

20   I.A. totaling approximately $3,879.78;

21         (iii) grief and psychological counseling incurred by I.A. and

22   J.A. totaling approximately $17,740;

23         (iv) lost wages for I.A. and D.A. totaling approximately

24   $25,306.80; and

25         (v) a loss to N.A.’s estate of an estimated $312,989.79 in

26   future income.

27   //

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1          In accordance with the VWPA and the Sentencing Guidelines, the

2    government respectfully requests that this Court exercise its

3    discretion under the VWPA and enter a restitution order for the full

4    amount of the victims’ losses resulting from N.A.’s death.

5    II.   BACKGROUND

6          A.    Defendant’s Actions Caused N.A.’s Death

7          On October 6, 2018, defendant traveled to N.A. and sold him a

8    gram of fentanyl for $200. (PSR ¶ 8.)         As noted in the PSR, N.A.

9    contacted defendant through one of the multiple advertisements on
10   Craigslist in which defendant advertised fentanyl for sale. (Id.

11   ¶ 9.) Shortly after consuming defendant’s fentanyl, N.A. died of

12   fentanyl poisoning. (Id.)

13         At defendant’s sentencing, I.A., D.A., and J.A. gave victim

14   impact statements, each noting how defendant’s conduct and the

15   consequences of his actions forever impacted their lives.

16         B.    Expenses Incurred by N.A.’s Family

17         N.A.’s parents and brother provided information to the

18   government regarding four categories of costs they incurred related
19   to N.A.’s death.     Those categories are: (i) travel expenses; (ii)

20   costs associated with N.A.’s funeral; (iii) grief counseling; and

21   (iv) lost wages.

22               1.    Travel Expenses

23         Attached as Exhibit A is a letter from D.A. outlining his costs

24   associated with N.A.’s death and associated receipts.           D.A.’s letter

25   identifies a total of $1,622.40 associated to travel for court

26   proceedings.     (Ex. A at 1.)    This amount did not include an

27   additional round trip to Los Angeles for defendant’s sentencing,

28   which totaled approximately $540.80.        Accordingly, D.A.’s travel

                                             2
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1    expenses total approximately $2,163.20.          Exhibit A also includes an

2    additional letter from D.A. to the Court.

3          Attached as Exhibit B are receipts from I.A. outlining her costs

4    associated with N.A.’s death.       I.A.’s receipts, which include

5    emergency travel to Los Angeles in the days following N.A.’s death,

6    total approximately $1,459.88.

7                 2.   Funeral and Related Services

8          Exhibit A at pages 1 and 4-6 outline D.A.’s costs associated

9    with N.A.’s funeral and related services, totaling approximately
10   $3,304.78.

11         Attached as Exhibit C are receipts from I.A. for costs

12   associated with N.A.’s funeral and related services, totaling

13   approximately $575.

14                3.   Grief and Psychological Counseling

15         Attached as Exhibit D are I.A.’s payments to counselors for

16   grief/psychological counseling sessions following N.A.’s death.             The

17   checks total approximately $2,740.

18         Attached as Exhibit E is an email from J.A. estimating total
19   grief/psychological costs following N.A.’s death at approximately

20   $15,000 ($150/hour for approximately 100 sessions).

21                4.   I.A. and D.A. Lost Wages

22         Exhibit A at pages 1-3 outline D.A.’s lost wages as a result of

23   N.A.’s death, totaling approximately $22,429.44.

24         Attached as Exhibit F are documents from I.A. outlining her lost

25   wages as a result of N.A.’s death.          Page 2 of the exhibit includes

26   I.A.’s calculation that estimates her wage loss at $2,877.36.            I.A.

27   also notes in Exhibit F that, as a result of N.A.’s death, she

28   resigned from her employment because she was unable to focus.            Her

                                             3
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1     early retirement also caused her to start receiving Social Security

2     income earlier than she anticipated.

3             C.     N.A.’s Lost Future Earnings

4             At the time of his death, N.A. was an electrician trainee at

5     Electrical Solutions Provider earning approximately $59,078.40 per

6     year.       Based on the attached declaration of forensic auditor Stephen

7     Loveman, N.A.’s lost future earnings payable to his estate total

8     approximately $312,989.79.1

9             Attached as Exhibit G are: (i) two weekly paystubs for N.A. for
10    the time periods of 5/28/2018-6/3/2018 and 7/23/2018-7/29/2018; and

11    (ii) an excerpt of N.A.’s 2018 income taxes.         Based on these figures,

12    Mr. Loveman conservatively estimated N.A.’s annual salary at

13    $59,078.40.      As detailed in the his declaration, Mr. Loveman then

14    adjusted N.A.’s future lost income stream to a net present value.

15    Mr. Loveman then discounted that net present value by decreasing the

16    portion of income that would have been consumed by N.A.           Mr. Loveman

17    also made conservative assumptions that N.A.’s lost income was

18    limited to lost wages, and did not include retirement or investment
19    income, or the value of any employment benefits, such as health care,

20    vacation days, or paid sick leave.        In sum, Mr. Loveman estimated

21    that the present value of N.A.’s lost future earnings totaled

22    approximately $312,989.79.

23            D.     Defendant’s Financial Resources and Earning Ability

24            The PSR noted that defendant reported no assets and no

25    liabilities, and noted that defendant did not appear to have the

26    present and future ability to pay a fine.         (PSR ¶¶ 80-85.)

27

28           N.A.’s family will appoint D.A. as the representative of the
              1
      estate should the Court award restitution to the estate.
                                         4
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1     Nonetheless, the government notes that defendant has a master’s

2     degree in physics from USC, and has previously worked at the USC

3     physics department, the UCLA geology lab, and a technology company

4     where he earned $15/hour.      (Id. ¶¶ 69-79.)

5     III. RESITUTION FOR THE FULL AMOUNT OF THE VICTIMS’ LOSSES IS
           WARRANTED IN THIS CASE
6
            A.   Legal Principles
7
                 1.    The VWPA Applies to Violations of 21 U.S.C. § 841
8

9           Under the VWPA, a court “may order . . . that the defendant make
10    restitution to any victim” of a covered offense, “or if the victim is

11    deceased, to the victim’s estate.”        18 U.S.C. § 3663(a)(1)(A).      A

12    “victim” is any “person directly and proximately harmed as a result

13    of” the offense for which restitution is authorized.          18 U.S.C.

14    § 3663(a)(2); Hughey v. United States, 495 U.S. 411, 418 (1990).2

15    “In the case of a victim who is . . . deceased, the legal guardian of

16    the victim or representative of the victim’s estate, another family

17    member, or any other person appointed as suitable by the court, may

18    assume the victim’s rights.”       18 U.S.C. § 3663(a)(2).
19          The VWPA specifically authorizes restitution for drug

20    trafficking offenses, including violations of 21 U.S.C. § 841. Id.

21    § 3663(a)(1)(A); United States v. Pearson, No. 20-10239, 2022 WL

22    807411, at *1 (9th Cir. Mar. 16, 2022) (finding that the VWPA

23    authorizes restitution for distribution of fentanyl resulting in

24    death).

25

26
            2Directly and proximately means that “a particular loss would not
27    have occurred but for the conduct underlying the offense of conviction”
      and the “causal connection between the conduct and the loss is not too
28    attenuated (either factually or temporally).” United States v.
      Robertson, 493 F.3d 1322, 1334 (11th Cir. 2007).
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1                 2.   Neither Exactitude Nor Factual Findings Are Required

2           The government bears the burden of establishing the amount and

3     type of restitution by a preponderance of the evidence.           See 18

4     U.S.C. § 3664(e) (“Any dispute as to the proper amount or type of

5     restitution shall be resolved by the court by a preponderance of the

6     evidence.”); United States v. Eyraud, 809 F.3d 462, 467 (9th Cir.

7     2015).     Although “[s]peculation and rough justice are not permitted,”

8     “exact precision is not required and district courts do have a degree

9     of flexibility in accounting for a victim’s complete losses.”            United
10    States v. Anderson, 741 F.3d 938, 954 (9th Cir. 2013).           Accordingly,

11    “a reasonable estimate [of the victim’s losses] will suffice.”             Id.

12    (internal quotation marks omitted).         The “restitution process

13    [should] be expedient and reasonable, with courts resolving

14    uncertainties with a view toward achieving fairness to the victim.”

15    United States v. Gordon, 393 F.3d 1044, 1060 (9th Cir. 2004),

16    abrogated on other grounds by Lagos v. United States, 584 U.S. 577

17    (2018).    For that reason, the court is “not required to make explicit

18    findings to justify its restitution order.”         United States v.
19    Waknine, 543 F.3d 546, 556 (9th Cir. 2008).

20          B.    The Court Should Order Defendant to Pay Restitution to
                  N.A.’s Parents, Brother, and Estate
21

22          The VWPA authorizes the Court to order restitution to victims of

23    drug trafficking crimes or, if the victim is deceased, to the

24    victim’s estate.     18 U.S.C. § 3663(a)(1)(A).      The purpose of

25    restitution “is not to punish the defendant, but to make the victim

26    whole again.”    United States v. Green, 722 F.3d 1146, 1150 (9th Cir.

27    2013); see also United States v. Acosta, 303 F.3d 78, 86 (1st Cir.

28    2002) (“The purpose behind the statute is to ‘insure that the

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1     wrongdoer make good, to the degree possible, the harm he has caused

2     to the victim.’”).     In determining whether to order restitution, the

3     VWPA requires courts to consider (1) “the amount of the loss

4     sustained by each victim as a result of the offense,” (2) “the

5     financial resources of the defendant, [and] the financial needs and

6     earning ability of the defendant and the defendant’s dependents,” and

7     (3) “such other factors as the court deems appropriate.”           18 U.S.C.

8     § 3663(a)(1)(B)(i).     The VWPA also provides that the court may

9     decline to order restitution where “the complication and prolongation
10    of the sentencing process resulting from the fashioning of an order

11    of restitution . . . outweighs the need to provide restitution to any

12    victims.”    Id. § 3663(a)(1)(B)(ii).       Lastly, the Sentencing

13    Guidelines provide that “[i]n the case of an identifiable victim, the

14    court shall [] enter a restitution order for the full amount of the

15    victim’s loss, if such an order is authorized by” the VWPA, among

16    other statues.    U.S.S.G. § 5E1.1(a)(1).

17            The VWPA factors and Sentencing Guidelines warrant restitution

18    here.    First, defendant’s actions caused N.A.’s death and thereby
19    inflicted financial injury on identifiable victims: N.A.’s parents,

20    brother, and estate.     Specifically, as explained above, N.A.’s

21    parents incurred expenses related to N.A.’s funeral, travel for court

22    proceedings, and I.A. and J.A sought grief counseling to cope with

23    their loss of N.A. Further, defendant’s crime deprived N.A.’s estate

24    of the income N.A. would have earned over his career.           There is no

25    risk that fashioning a restitution order would overcomplicate or

26    unduly prolong the sentencing process, as the victims and the

27    resulting harms are known here.       See U.S.S.G. § 5E1.1(a)(1)

28    (authorizing restitution under the VWPA when victims are

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1     “identifiable”).     Thus, the Court can and should order defendant to

2     pay restitution to N.A.’s parents, brother, and estate, as that would

3     ensure defendant “make[s] good,” at least economically, on the harm

4     he has already caused to N.A.’s family and estate.          See Acosta, 303

5     F.3d at 86.

6           Second, defendant’s present inability to pay due to his

7     incarceration is no impediment to a restitution order.           Indeed, the

8     VWPA “does not prohibit a sentencing court from imposing a

9     restitutionary sentence upon a defendant who is indigent at the time
10    of sentencing.”     United States v. Keith, 754 F.2d 1388, 1393 (9th

11    Cir. 1985).     Moreover, a “defendant’s future financial situation is

12    indeterminable and could change,” making him able to pay some if not

13    all the restitution ordered.       United States v. Jackson, 982 F.2d

14    1279, 1284-85 (9th Cir. 1992).       Where a defendant’s economic

15    circumstances do not allow for either immediate or future payment of

16    the restitution amount, the court may waive interest on the

17    restitution amount and order the defendant to make payments during

18    the period of imprisonment, pursuant to the Bureau of Prisons' Inmate
19    Financial Responsibility Program, and make nominal payments of at

20    least 10% of defendant’s monthly income upon release.           See 18 U.S.C.

21    § 3664(f)(2).     And even if a restitution order in this case ends up

22    being largely symbolic, justice demands that defendant be held fully

23    accountable for his crimes, which includes making N.A.’s family and

24    estate whole for their financial losses.

25          C.   The Restitution Award Should Include the Full Amount of
                 N.A.’s Family and Estate’s Losses, Including the Cost of
26               Phycological Care, Funeral Expenses, and Future Lost Income

27          Under the VWPA, once the decision to award restitution has been

28    made, “the court shall order restitution to each victim in the full

                                              8
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1     amount of each victim’s losses . . .[,] without consideration of the

2     economic -circumstances of the defendant.”         18 U.S.C.

3     § 3664(f)(1)(A); United States v. Diaz, 865 F.3d 168, 180-81 (4th

4     Cir. 2017) (holding that once the discretionary decision to award

5     restitution is made, restitution must be in the full amount of the

6     victim’s losses); United States v. Sizemore, 850 F.3d 821, 826-27

7     (6th Cir. 2017) (same); United States v. Day, 418 F.3d 746, 755-57

8     (7th Cir. 2005) (same); but see United States v. Williams, 353

9     F.Supp.3d 14, 26-27 (D.D.C. 2019) (holding that district courts may
10    take a defendant’s economic circumstances into account when

11    determining how much restitution to impose under the VWPA).3

12          Here, the economic losses resulting from defendant’s

13    distribution of fentanyl are outlined below:

14                1.   Travel Expenses

15          The VWPA authorizes restitution “for lost income and necessary

16    child care, transportation, and other expenses related to

17    participation in the investigation or prosecution of the offense or

18    attendance at proceedings related to the offense.”          18 U.S.C.
19    § 3663(b)(4).    As outlined in Exhibit A, D.A. incurred travel costs

20    related to the prosecution of the offense and attendance at these

21    proceedings of approximately $1,622.40.        As outlined in Exhibit B,

22    I.A. incurred emergency travel expenses related to N.A.’s death and

23    traveling to court proceedings of approximately $1,459.88.           The Court

24    should order defendant to pay restitution to D.A. and I.A. for these

25    expenses.

26

27

28          3The Court should, of course, take the defendant’s financial
      circumstances into account in setting the payment schedule.
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1                2.    Funeral Expenses

2           Where an offense “resulting in bodily injury also results in the

3     death of a victim,” the VWPA also authorizes restitution for “the

4     cost of necessary funeral and related services.”          18 U.S.C.

5     § 3663(b)(3).    Exhibit A shows D.A. incurred such costs totaling

6     approximately $3,304.78 and I.A. incurred such costs totaling

7     approximately $575.     The restitution order should require defendant

8     to pay for these costs.

9                3.    Medical, Psychiatric, and Related Expenses
10          In the case of an offense resulting in bodily injury or death,

11    the VWPA authorizes restitution for “the cost of necessary medical

12    and related professional services and devices relating to physical,

13    psychiatric, and psychological care.”        18 U.S.C. § 3663(b)(2)(A); see

14    also United States v. Cienfuegos, 462 F.3d 1160, 1164-65 (9th Cir.

15    2006).   Exhibit D shows that I.A. incurred approximately $2,740 in

16    costs associated with grief counseling.        Exhibit E shows that J.A.

17    incurred approximately $15,000 in such costs.

18          The government notes that the Ninth Circuit has previously
19    explained that “[t]he cost of psychological counseling can be

20    included in a restitution order only when the victim has suffered

21    physical injury.”     United States v. Hicks, 997 F.2d 594, 601 (9th

22    Cir. 1993); see also United States v. Dayea, 73 F.3d 229, 931 (9th

23    Cir. 1995) (“[T]o be eligible for lost income compensation under

24    § 3663(b)(2), a victim must personally suffer bodily injury,” where

25    (b)(2) “indicates that ‘the victim’ of § 3663(b)(2)(C) must refer to

26    the same ‘victim’ as the first clause of § 3663(b)(2)”); United

27    States v. Benally, 550 F. App’x 382, 384 (9th Cir. 2013) (“We have

28    previously held that the cost of psychological counseling can only be

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1     included in a restitution order when the victim has suffered physical

2     injury.”).    But those cases, which did not involve a victim who

3     suffered bodily harm (Hicks) or a victim seeking psychological care

4     (Dayea), are distinguishable.       Specifically, unlike in Hicks, N.A.

5     did suffer physical injury (his death), which directly caused I.A.

6     and J.A. to incur their counseling expenses.         Moreover, to the extent

7     that Dayea limits the applicability of (b)(2)(A) to the victim who

8     suffered physical injury (N.A.), the government respectfully submits

9     Dayea is distinguishable because that case dealt with lost income and
10    not psychological care.

11          The full reimbursement of I.A. and J.A.’s grief counseling is

12    further supported by the Ninth Circuit’s decision in Cienfuegos,

13    which underscored the purpose of making victim’s whole through an

14    award of restitution.     Indeed, at least two other courts in this

15    district recently awarded such costs in a fentanyl overdose case.

16    See United States v. Quintero, 19-cr-00766-CAS at Dkt. 227 (imposing

17    restitution for grief counseling expenses for decedent’s parents);

18    United States v. Wolfe, 22-cr-00322-JFW at Dkts. 57, 68 (government
19    and Federal Public Defender’s Office agreeing that the defendant in a

20    fentanyl overdose case pay restitution for decedent’s mother’s

21    therapy expenses).     This Court should follow suit and order defendant

22    to pay restitution to I.A. and J.A. for these expenses.

23               4.    D.A. and I.A.’s Lost Income

24          As explained above, the VWPA authorizes restitution “for lost

25    income and necessary child care, transportation, and other expenses

26    related to participation in the investigation or prosecution of the

27    offense or attendance at proceedings related to the offense.”            18

28    U.S.C. § 3663(b)(4).     Exhibit A shows D.A. incurred lost wages

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1     totaling approximately $22,429.44.        D.A.’s 44 days of missed work

2     immediately followed N.A.’s death, including the day of N.A.’s death

3     when D.A. spoke with investigating officers.         As outlined in Exhibit

4     F, I.A. incurred lost wages totaling approximately $2,877.36 as a

5     result of N.A.’s death.      Moreover, I.A. resigned earlier than

6     expected from her employment because she was unable to focus on work

7     due to N.A’s death.     Her early retirement caused her to start

8     receiving Social Security income earlier than she anticipated.            The

9     restitution order should include these costs.4
10               5.     Victim N.A.’s Lost Income

11          Under the VWPA, “[i]n the case of an offense resulting in bodily

12    injury to a victim,” restitution may include “income lost by such

13    victim as a result of such offense.” 18 U.S.C. § 3663(b)(2)(C).            Lost

14    income may also be awarded where, as here, a victim dies as a result

15    of the offense.     Analyzing identical language in the MVRA,5 the Ninth

16    Circuit held that in the case of a deceased victim, an award of

17    restitution may include the decedent’s future lost income.

18    Cienfuegos, 462 F.3d at 1164-65; see also United States v. Razo–
19    Leora, 961 F.2d 1140, 1146 (5th Cir. 1992) (affirming order that

20    defendant pay $100,000 in lost income to victim’s widow under VWPA).

21    As the Ninth Circuit reasoned in Cienfuegos, “[i]t would be illogical

22    to assume that the ultimate death of a person who suffered bodily

23    injury eliminates restitution for lost income.” 462 F.3d at 1164.

24
           4 The government acknowledges that restitution for these costs
25    is not authorized under 18 U.S.C. 3663(b)(2)(C) under Dayea.
26          5Other than the discretionary nature of restitution under the
      VWPA and the requirement that a court consider a defendant's economic
27    circumstances, the “‘provisions of the VWPA and MVRA are nearly
      identical in authorizing an award of restitution.’” United States v.
28    Serawop, 505 F.3d 1112, 1118 (10th Cir. 2007) (quoting United States
      v. Randle, 324 F.3d 550, 555–56 & nn. 2–3 (7th Cir. 2003)).
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1     Accordingly, the VWPA allows the victim’s estate “to collect

2     restitution for future lost income” id., which is necessary for the

3     defendant to “fully pay the debt owed to the victim and to society,”

4     id. at 1165.

5        Generally, the lost future income calculation has two stages: (1)

6     “an estimate of the shape of the lost stream of future income;” and

7     (2) “the selection of an appropriate discount rate.”          Jones &

8     Laughlin Steel Corp. v. Pfeifer, 462 U.S. 523, 539 (1983).           Given

9     defendant’s current limited ability to pay restitution for lost
10    income, the government has proposed a conservative approach to

11    calculating the stream of N.A.’s lost future income as outlined in

12    the Loveman declaration.      Specifically, Mr. Loveman assumed that

13    N.A’s salary would have remained constant, at 2018 levels, with no

14    salary growth over time on account of inflation or career

15    progression; that N.A.’s lost income should only include lost wages,

16    to the exclusion of retirement and other income; and a personal

17    consumption offset of approximately 70% should apply to reduce the

18    future lost income by the amount that N.A. would have personally
19    consumed.    Moreover, to account for the fact that a lump sum of money

20    today is worth more than the same sum paid out over time, Mr. Loveman

21    calculated the net present value of N.A.’s future income using a

22    discount rate of 4.51%, which is the yield on a 30-year U.S. treasury

23    security to its time of maturity.

24          Applying this methodology, Mr. Loveman calculated that N.A.’s

25    lost future income totaled approximately $312,989.79.           The government

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1     respectfully requests that the court adopt this calculation and order

2     restitution in that amount.6

3           D.   Manner of Repayment

4           After determining the amount of restitution owed, the court must

5     specify the “manner in which, and the schedule according to which,

6     the restitution is to be paid.” 18 U.S.C. § 3664(f)(2).           Here, where

7     defendant’s only income will likely come from money he earns while

8     incarcerated and any funds sent to him by family or friends,

9     immediate payment of restitution is unrealistic.          Given that
10    defendant’s economic circumstances may not allow for either immediate

11    or full future payment of the restitution amount, the government

12    respectfully requests that the Court order defendant to pay

13    restitution during the period of imprisonment at the rate of not less

14    than $25 per quarter, pursuant to the Bureau of Prisons' Inmate

15    Financial Responsibility Program.       If any amount of the restitution

16    remains unpaid after defendant’s release from custody, the government

17    requests that defendant be ordered to make nominal monthly payments

18    of at least 10% of defendant's gross monthly income, but not less
19    than $100, whichever is greater, during the period of supervised

20    release, beginning 30 days after the commencement of supervision.

21    Finally, to allow for the possibility of a change in circumstances,

22    the government requests that the Court order that the repayment

23    schedule may be adjusted should future events so warrant.

24

25

26          6See also United States v. Arthur, No. 14-cr-00848-PHX-SPL,
      2019 WL 2100007 (awarding restitution for victim’s lost income after
27    applying consumption offset based on Patton-Nelson consumption
      tables); id. ECF No. 306 (Govt’s Mot. for Restitution) (setting forth
28    restitution methodology, including in attached testimony and
      exhibits); see also Serawop, 505 F.3d at 1114-16.
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1     IV.   CONCLUSION

2           For the foregoing reasons, the government respectfully requests

3     that the Court order the defendant to pay restitution as outlined

4     above.

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